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 4

 5 Attorney for Xavier Johnson

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 7
                                     UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10 UNITED STATES OF AMERICA,                      )   CASE NO. 12-CR-250 - KJM
                                                  )
11                                Plaintiff,      )
                                                  )
12                                                )
     v.                                           )
13                                                )   STIPULATION AND ORDER
                                                  )   CONTINUING DATE FOR POSTING OF
14 XAVIER JOHNSON,                                )   PROPERTY BOND
                                                  )
15                                Defendant.      )
                                                  )
16 __________________________________             )

17

18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

19 counsel, Matthew Morris, Assistant United States Attorney, attorney for plaintiff and Kyle Knapp,

20 attorney for defendant, XAVIER JOHNSON, that the due date for posting of the property bond ordered as

21 part of Mr. Johnson’s pretrial release be continued from September 5, 2012 to September 19, 2012. Good

22 cause for the continuance exists as the owner of the property in question was hospitalized for the two

23 weeks following my client’s release and the defendant, Xavier Johnson has been and will be in Georgia

24 until September 10, 2012. At the time of release, both the court and pretrial services were apprised of the

25 defendant’s Georgia trip. Pretrial Services is informed of the need for this request and has no opposition

26 to the request for more time to post the property bond.

27 Dated: September 5, 2012                                     Respectfully submitted.

28
                                                                  /s/ Kyle R. Knapp
                                                                Kyle R. Knapp
                                                                Attorney for Defendant, Xavier Johnson
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 1 Dated: September 5, 2012                                   Respectfully submitted.

 2                                                              /s/ Matthew Morris
                                                              Matthew Morris
 3                                                            Assistant U.S. Attorney
                                                              Attorney for Plaintiff
 4
                                                   ORDER
 5
            GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, the due date for the
 6
     required property bond be continued to September 19, 2012.
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 9
     Dated: September 6, 2012
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12
                                         /s/ Gregory G. Hollows
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                                UNITED STATES MAGISTRATE JUDGE
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